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    3 Los Angeles, CA 90067
      Telephone: 310-282-0690
    4 Facsimile: 310-282-0691

    5   Attorneys for Defendant
        ANOVOS PRODUCTIONS, LLC
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                                 UNITED STATES DISTRICT COURT
    8
                                CENTRAL DISTRICT OF CALIFORNIA
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        RICHARD DALTON, MATTHEW                Case No. 2:19-cv-04821- MWF(KSx)
   11   FERNANDES, ANDRE JOSEPH,
        ALEXANDER ALONSO, AND
   12   RANDOLPH JONES, individually and       BRIANNA DAHLBERG’S NOTICE
        on behalf of all others similarly      OF UNOPPOSED MOTION TO
   13   situated,                              WITHDRAW AS COUNSEL FOR
                                               DEFENDANT ANOVOS
   14             Plaintiffs,                  PRODUCTIONS, LLC
   15        v.                                Hon. Michael W. Fitzgerald
                                               DATE: May 24, 2021
   16   ANOVOS PRODUCTIONS, LLC                TIME: 10:00 a.m.
        DISNEY LUCASFILM LTD.,
   17   NBCUNIVERSAL MEDIA, LLC,
        AND CBS STUDIOS, INC.,                 [Filed concurrently with Declaration of
   18                                          Eugene Rome; [Proposed] Order]
                  Defendants.
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   31        UNOPPOSED MOTION TO WITHDRAW AS COUNSEL FOR DEFENDANT
                            ANOVOS PRODUCTIONS, LLC
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   1 TO THE COURT, ALL PARTIES AND THEIR COUNSEL:
   2         PLEASE TAKE NOTICE that on May 24, 2021 at 10:00 A.M., or as soon as
   3 the matter may be heard before Honorable Michael W. Fitzgerald, United District
   4 Judge, Courtroom 5A of the First Street Courthouse of the United States District
   5 Court for the Central District of California, located at 350 West First Street, Los
   6 Angeles, California 90012, Brianna Dahlberg of the firm Rome & Associates,
   7 A.P.C., counsel for Defendant Anovos Productions, LLC (“Defendant”), will, and
   8 hereby does, apply to the Court for an order granting leave to withdraw as counsel.
   9         This Motion is made pursuant to L.R. 83-2.3.2 and California Rule of
  10 Professional Conduct 3-700(C) due to Defendant’s non-payment of fees. Plaintiffs
  11 do not oppose the withdrawal, administration of justice will not be adversely
  12 impacted, and withdrawal will not unreasonably delay the resolution of the case as
  13 the case has been settled.
  14         This Motion is based upon this Notice of Motion, the accompanying
  15 Memorandum of Points and Authorities, the Declaration of Eugene Rome, the
  16 [Proposed] Order lodged herewith, the pleadings, records, and papers filed in this
  17 action, and on such other evidence and argument as may be considered prior to a
  18 decision on the Motion.
  19         This Motion is made following the conference of counsel pursuant to L.R.
  20 7-3, which took place on April 16, 2021. Plaintiffs’ counsel indicated he would not
  21 oppose the Motion.
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       DATED: April 23, 2021                ROME & ASSOCIATES, A.P.C.
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  25                                        By: /s/ Brianna Dahlberg
  26                                           Brianna Dahlberg
                                               Attorneys for Defendant
  27                                           ANOVOS PRODUCTIONS, LLC
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             UNOPPOSED MOTION TO WITHDRAW AS COUNSEL FOR DEFENDANT
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   1                MEMORANDUM OF POINTS AND AUTHORITIES
   2 I.      INTRODUCTION AND BACKGROUND
   3         Pursuant to L.R. 83-2.3.2, attorney Brianna Dahlberg of the law firm Rome &
   4 Associates, A.P.C. (“Rome & Associates”) moves this Court for an order permitting
   5 her and her firm to withdraw as counsel for Defendant Anovos Productions, LLC
   6 (“Defendant”) in this matter due to non-payment of fees.
   7         Plaintiffs’ counsel has indicated that they will not oppose this Motion. (No
   8 other parties remain in the case.) The progress of the case will not be impacted by
   9 the withdrawal as this case settled in August 2020. Declaration of Eugene Rome
  10 filed herewith (“Rome Decl.”), ¶ 2. The parties filed a stipulated dismissal on
  11 September 16, 2020. ECF No. 77. On March 31, 2021, Plaintiffs filed a motion to
  12 reopen the case alleging that Defendant has failed to pay settlement payments to
  13 Plaintiffs. ECF No. 79. Defendant filed no opposition to Plaintiffs’ motion.
  14         Following the filing of Plaintiffs’ motion to reopen the case, Ms. Dahlberg
  15 and the other two attorneys with Rome & Associates representing Defendant,
  16 Eugene Rome and Sridavi Ganesan, formally filed notices of withdrawal. ECF Nos.
  17 83, 84, 85. The Court’s docket reflects that Mr. Rome and Ms. Ganesan’s notices of
  18 withdrawal were accepted, but the Court issued a notice of deficiencies with respect
  19 to Ms. Dahlberg’s notice of withdrawal. See ECF No. 87 (stating that docket does
  20 not reflect party Defendant terminated from the court’s docket). She remains listed
  21 as counsel for Defendant on the Court’s docket.
  22         As this case was settled long ago, the withdrawal will not cause any prejudice
  23 to Plaintiffs, nor harm the administration of justice or result in any delay of resolution
  24 of the case. Rome & Associates has provided proper written notice to the client and
  25 complied with the applicable Local Rules and California Rules of Professional
  26 Conduct.
  27         Accordingly, Ms. Dahlberg respectfully requests that the Court grant
  28 permission to withdraw.
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              UNOPPOSED MOTION TO WITHDRAW AS COUNSEL FOR DEFENDANT
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       II.   DISCUSSION
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             Local Rule 83-2.3.2 states that “[a] motion for leave to withdraw must be
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       made upon written notice given reasonably in advance to the client and to all other
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       parties who have appeared in the action.” L.R. 83-2.3.2. “In determining whether to
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       grant the motion to withdraw as counsel, courts often weigh the following four
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       factors: (1) reason why withdrawal is sought; (2) the prejudice withdrawal may result
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       to other litigants; (3) the harm withdrawal might cause to the administration of
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       justice; and (4) the degree to which withdrawal will delay the resolution of the case.”
   8
       Beard v. Shuttermart of Cal. Inc., 2008 WL 410694 at *2 (S.D. Cal. Feb. 13, 2008);
   9
       Nedbank Int'l, Ltd., v. Xero Mobile, Inc., 2008 WL 4814706 at *1 (C.D. Cal., Oct.
  10
       30, 2008).
  11
             The California Rules of Professional Conduct provide for permissive
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       withdrawal when the client “renders it unreasonably difficult for the member to carry
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       out the employment effectively” or “breaches an agreement or obligation to the
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       member as to expenses or fees” (among other circumstances). Cal. R. Prof. Conduct,
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       R. 3-700(C)(1)(d) & (f). The California Rules of Professional Conduct further
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       provide that “[a] member shall not withdraw from employment until the [attorney]
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       has taken reasonable steps to avoid reasonably foreseeable prejudice to the rights of
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       the client[.]” Cal. R. Prof. Conduct, R. 3-700(A)(2).
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             Here, the four factors weigh in favor of granting withdrawal. Even though the
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       case is long settled, Defendant owes Rome & Associates a substantial outstanding
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       balance which is significantly past due. Rome Decl., ¶ 2. Although Rome &
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       Associates has demanded payment, Defendant has failed to pay. Id. Defendant has
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       been given an adequate warning that if it did not pay its past due legal bills, Rome
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       & Associates would withdraw. Id. at ¶ 4. Rome & Associates has advised Defendant
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       that, as an entity, it cannot represent itself in the action and further advised Defendant
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       of the consequences of not retaining legal counsel in this matter. Id. While the
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       “[f]ailure of the client to pay agreed compensation is not necessarily sufficient to
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              UNOPPOSED MOTION TO WITHDRAW AS COUNSEL FOR DEFENDANT
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   1 establish good cause,” L.R. 83-2.3.2, “[c]ourts have also held that the failure to pay
   2 attorney’s fees may be grounds for withdrawal.” Canandaigua Wine Co. v. Edwin
   3 Moldauer, 2009 WL 89141, at *2 (E.D. Cal. Jan. 14, 2009); see also Moss Landing
   4 Commercial Park LLC v. Kaiser Aluminum Corp., 2009 WL 764873 at *1 (“The
   5 court applies California’s Rules of Professional Conduct to determine whether
   6 withdrawal is proper. Pursuant to such rules, an attorney may seek to withdraw if the
   7 client ‘breaches an agreement or obligation to the member as to expenses or fees.’”).
   8         The withdrawal will not prejudice Plaintiffs. Plaintiffs’ counsel indicated that
   9 he will not oppose withdrawal. Nor will the withdrawal impact the administration of
  10 justice or result in any delay, as this case was settled long ago. In the event that the
  11 Court grants Plaintiffs’ pending motion to reopen the case to enforce the settlement
  12 agreement, Defendant has been provided ample notice and opportunity to retain new
  13 counsel.
  14 III.    CONCLUSION
  15         For the foregoing reasons, good cause exists to grant this Motion and permit
  16 Ms. Dahlberg to withdraw as counsel for Defendant.
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       DATED: April 23, 2021                  ROME & ASSOCIATES, A.P.C.
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  20                                          By: s/ Brianna Dahlberg
  21                                             Brianna Dahlberg
                                                 Attorneys for Defendant
  22                                             ANOVOS PRODUCTIONS, LLC
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                             ANOVOS PRODUCTIONS, LLC
